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 Gerrit M. Pronske
 Texas Bar No. 16351640
 Brandon J. Tittle
 Texas Bar No. 24090436
 PRONSKE & KATHMAN, P.C.
 2701 Dallas Parkway, Suite 590
 Plano, Texas 75093
 Telephone: 214.658.6500
 Facsimile: 214.658.6509
 Email: gpronske@pronskepc.com
 Email: btittle@pronskepc.com

 COUNSEL FOR DEBTORS
 AND DEBTORS-IN-POSSESSION

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

 In re:                                                       §
                                                              §       Case No. 19-32841-hdh
 DOUGHERTY’S HOLDINGS, INC., et al.,1                         §
                                                              §       Chapter 11
          Debtors.                                            §       Jointly Administered

           DEBTORS’ MOTION PURSUANT TO SECTIONS 105(a) AND
   363 OF THE BANKRUPTCY CODE FOR (I) APPROVAL OF BID PROCEDURES
 FOR THE SALE OF THE DEBTORS’ PHARMACIES, (II) AUTHORIZATION TO USE
   THE ASSET PURCHASE AGREEMENT IN CONNECTION THEREWITH, AND
            (III) TO SET RELATED AUCTION AND HEARING DATES

 TO THE HONORABLE HARLIN D. HALE
 UNITED STATES BANKRUPTCY JUDGE:

          Dougherty’s Holdings, Inc., (“Holdings”) and its affiliates, the debtors and debtors in

 possession in the above-captioned cases (collectively, the “Debtors”), hereby file this motion (the

 “Motion”) for approval of procedures for the sale of the Debtors’ Pharmacies (defined below) and

 respectfully represent as follows:


 1
   The Debtors in these Chapter 11 cases, together with the last four digits of each Debtors’ federal tax identifications
 number, are as follows: Dougherty’s Holdings, Inc. (4393), Dougherty’s Pharmacy, Inc. [Texas] (3187), Dougherty’s
 Pharmacy Forest Park, LLC (6490); Dougherty’s Pharmacy McAlester, LLC (1758); Dougherty’s Pharmacy, Inc
 [Delaware] (0905). The mailing address for the Debtors, solely for purposes of notices and communications, is: 5924
 Royal Lane, Suite 250, Dallas, Texas 75230, with copies to Pronske & Kathman, P.C., c/o Brandon J. Tittle, 2701
 Dallas Parkway, Suite 590, Plano, Texas 75093.
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                                      JURISDICTION AND VENUE

            1.       The Court has jurisdiction over the Motion pursuant to 28 U.S.C. §§ 157 and

 1334(b). This matter is a core proceeding and this Motion is proper in this district pursuant to 28

 U.S.C. §§ 1408 and 1409.

            2.       The statutory authorities for the relief requested herein in are Sections 105(a) and

 363(b) of the Bankruptcy Code.2

                                              BACKGROUND

 A.         The Debtors.

            3.       On August 28, 2019 (the “Petition Date”), the Debtors each commenced a cash by

 filing a petition for relief under chapter 11 of the Bankruptcy Code (the “Chapter 11 Cases”). The

 Debtors continue to operate their businesses and manage their properties as debtors and debtors-

 in-possession pursuant to Bankruptcy Code sections 1107(a) and 1108.

            4.       To date, no creditors’ committee has been appointed in the Chapter 11 Cases by the

 Office of the United States Trustee for the Northern District of Texas (the “United States Trustee”).

 No trustee or examiner has been appointed in the Chapter 11 Cases.

            5.       After opening in 1929, the Debtors own and operate two retail pharmacy stores in

 Dallas, Texas and one in McAlester, Oklahoma. A beloved Dallas institution, the Debtors are the

 area’s oldest, largest, and most-recognized full-service pharmacy serving customers across Texas.

 The retail stores are approximately 2,500 – 12,000 square feet in size, and offer health screenings,

 serves prescription needs, offers wellness and holistic care products, health & beauty products,

 home medical supplies and equipment, and gifts for sale.




 2
     11 U.S.C. §§ 101 et. seq.
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         6.      Due in part to a decrease in prescriptions being filled, increased competition from

 national pharmacy chains, increased operating expenses and overhead, downward pricing pressure

 from insurance providers carriers, and a decrease in reimbursements for higher priced

 prescriptions, the Debtors do not have sufficient liquidity to continue their business outside the

 protection of this Court and have been forced to seek relief pursuant to chapter 11 of the

 Bankruptcy Code.

 B.      The Marketing Process.

         7.      Prior to the Petition Date, the Debtors engaged in an extensive marketing process and

 worked to maximize value and market the Debtors’ pharmacies located at 5959 Royal Ln #515,

 Dallas, Texas 75230, 6090 Campbell Road, Suite 100, Dallas, Texas 75248, and 622 E Wyandotte

 Ave., McAlester, Oklahoma 74501 (collectively, the “Pharmacies”) in the greatest way possible.

 CVS Pharmacy, Walgreens Pharmacy, and Kroger were among the parties that the Debtors reached

 out to regarding the sale of the Pharmacies.

         8.      The Debtors have drafted a template asset purchase agreement for potential

 purchasers to utilize in submitting their bids.

                                       RELIEF REQUESTED

         9.      By this Motion, the Debtors seeks entry of an order (the “Bid Procedures Order”):

         (a)     approving procedures (the “Bid Procedures”) as set forth in Exhibit A for (i)
                 submitting bids for the purchase of the Pharmacies, and (ii) conducting an auction
                 (the “Auction”) with respect to the Pharmacies if the Debtors receive two or more
                 Qualified Bids for the Pharmacies;

         (b)     approving the Asset Purchase Agreement (the “APA”) with the Purchaser, in the
                 form attached hereto as Exhibit B for the purpose of establishing a minimum
                 acceptable bid at which to begin the Auction;

         (c)     providing that if only one Qualified Bid is timely received by Bid Deadline (as that
                 term is defined herein), the Debtors will not conduct an Auction and instead shall
                 present the sole Qualified Bid to the Court for approval at a hearing on [January
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                17, 2020 at _:__ _.m. (CST)], or such other date the Court may set to consider
                approval of the relief sought in the Sale Motion (the “Approval Hearing”);

        (e)     providing that, should a Qualified Bid be timely received, an Auction shall take
                place on January 10, 2020 at 2:00 p.m. (CST), or at such other date, time and
                location determined by the Court at any hearing on this Motion and providing the
                procedures governing any Auction, as incorporated in the Bid Procedures attached
                hereto as Exhibit A;

        (f)     setting January 15, 2020 at 12:00 p.m. (prevailing Central Time) (the “Sale
                Motion Objection Deadline”) as the deadline by which parties must object to the
                Sale Motion, including the proposed amounts necessary to cure any defaults for
                executory contracts or unexpired leases;

        (g)     providing that the Court shall consider at the Approval Hearing either (a) the
                Stalking Horse Bid if no other Qualified Bids are timely received or (b) the best bid
                selected by the Debtors pursuant to the Bid Procedures; and

        (h)     approving the form of notice, in the form attached hereto as Exhibit C, of the
                Approval Hearing, the Sale Motion Objection Deadline, and the proposed amount
                necessary to cure any defaults under any assumed and assigned executory contracts
                and unexpired leases.

                         FOREST PARK PHARMACY TO BE SOLD

        10.     The Debtors seek authority to auction and sell the Pharmacies free and clear of all

 pledges, liens, security interests, encumbrances, claims, charges, options and interests thereon and

 there against in accordance with section 363 of the Bankruptcy Code, which will include the

 following:

                (a)     all Inventory;

                (b)     all Accounts Receivable;

                (c)     all Prescription Files, Records, and Data;

                (d)     all Compounding Lab Equipment;

                (e)     all Assumed Contracts; and

                (f)     all Goodwill.

        11.     Debtors intend to file in the near future its Motion Pursuant to Sections 105(a), 363,
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 and 365 of the Bankruptcy Code and Bankruptcy Rules 6004 and 6006 Approving the Sale of

 Debtors’ Pharmacies (the “Sale Motion”), in which the Debtors seek to sell the Pharmacies to the

 Purchaser, or alternatively to the Successful Bidder (as defined herein).

                                       BID PROCEDURES

 A.     Bid Procedures.

        12.     In order to maximize the value of the Pharmacies, the Debtors seek to implement a

 competitive bidding process for the sale of the Pharmacies. To govern the competitive bidding

 process, the Debtors intend to implement the Bid Procedures attached hereto as Exhibit A.

        13.     Among other things, the Bid Procedures require that a bid must: (1) work from the

 APA, attached hereto as Exhibit B; (2) identify the officer(s) or authorized agent(s) who will

 appear at the Auction on behalf of such bidder; (3) provide evidence, satisfactory to the Debtors

 and Debtors’ counsel, in their reasonable discretion, of the bidder’s financial wherewithal and

 operational ability to consummate the proposed transaction; (4) include a statement of which, if

 any, executory contracts and unexpired leases it desires to assume at closing; (5) include a Good

 Faith Deposit of $175,000; (6) provide a statement that such Bidder’s offer is irrevocable until the

 earlier of February 28, 2020 or consummation of a transaction involving any other bidder; and (7)

 a statement that such Bidder shall not request nor be entitled to any break-up fee, expense

 reimbursement or similar type of payment. Only bids that meet all the requirements listed above

 shall be considered a “Qualified Bid.” The Debtors believe that the Bid Procedures are appropriate

 and that a sale conducted pursuant to their terms will produce the highest and best bid for the

 Debtors and their estates in connection with the sale.

        14.     The Debtors further believe that the Bid Procedures provide an appropriate

 framework for selling the Pharmacies in a uniform fashion and will enable the Debtors to review,

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 analyze, and compare all bids received to determine which bid(s) are in the best interests of the

 Debtors, their estates, and creditors. THE BID OF ANY BIDDER FAILING TO COMPLY

 WITH THE BIDDING PROCEDURES SHALL NOT BE ACCEPTED WITHOUT THE

 DEBTORS’ CONSENT.

 B.     The Auction

        15.     If more than one Qualified Bid is received prior to the Bid Deadline (as defined

 herein below), the Debtors propose to hold an auction on January 10, 2020 at 2:00 p.m. (CST)

 at the offices of Pronske & Kathman, P.C., 2701 Dallas Parkway, Suite 590, Plano, Texas 75093,

 or such other location, date and time as may be determined by the Court and entered in the Bid

 Procedures Order. Only a bidder who submits a Qualified Bid (as defined in the Bid Procedures)

 by the Bid Deadline may participate at the Auction.

        16.     If one or less Qualified Bid is timely received, the Debtors will NOT conduct an

 Auction and instead may present the sole Qualified Bid to the Court for approval at the Approval

 Hearing on [January 17, 2019 at _:__ _.m. (CST)], or such other date the Court may order.

        17.     Subject to the Bid Procedures, if there are at least two Bidders that submit a

 Qualified Bid, the Debtors will accept bids on account of the Pharmacies. Bidding will continue

 with respect to the Auction until the Debtors determine that they have received the highest and

 best bid for the Pharmacies. The Debtors will then determine and announce, at the Auction, which

 bid has been determined to be the highest and best bid (the “Successful Bid”). The Debtors will

 also announce the “Backup Bid,” which bid has been determined to be the second highest and best

 bid. The Debtors will then close the auction. The successful bidder (the “Successful Bidder”) will

 be required, if hasn’t already done so, to enter into a definitive agreement, which shall be subject

 to approval of the Court at the Approval Hearing.

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        18.     In determining the Successful Bid and Backup Bid the Debtors will use their

 business judgment.

 C.     Notice Procedures.

        19.     Sale Notice:    As soon as approved by the Court, the Debtors will immediately

 serve notice of the Auction and Approval Hearing (the “Sale Notice”) by first class mail on: (i) the

 Master Service List attached to this Motion; (ii) Creditor Matrix; (iii) the parties that have filed

 proofs of Claim in these Cases at the addresses set forth therein; (iv) all parties that have requested

 notice and/or filed a notice of appearance in this case; (v) each of the entities that signed NDAs,

 including each of the entities that submitted letters of intent as of the filing of this Motion; and

 (viii) counsel for any other Bidder as of that date (collectively, the “Sale Notice Parties”). A

 proposed form of the Sale Notice is attached hereto as Exhibit C.

        20.     Assumption Notice: In accordance with Bankruptcy Rule 2002, the Debtors must

 provide notice of the (i) potential assumption and assignment of executory contracts and unexpired

 leases and rights thereunder, (ii) the maximum amounts that the Debtors may pay to cure any

 defaults (collectively, the “Cure Amounts”), and (iii) the deadline to file objections to such

 assumption and assignment, maximum Cure Amounts, the existence of any defaults, and/or

 adequate assurance of future performance. Thus, the Debtors propose to include within, and

 attached to, the Sale Notice, a list of potential executory contracts and unexpired leases that may

 be assumed and assigned by the Debtors (the “Desired 365 Contracts”), along with maximum Cure

 Amounts related to each executory contract and unexpired lease and information as to the party or

 counterparty to each contract or lease. Due to complexities that often arise related to these types

 of amounts, the Debtors propose to (i) pay all valid and undisputed Cure Amounts as provided in

 the cure notices, and/or (ii) establish a cash reserve to satisfy disputed Cure Amounts upon

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 approval by the Court. Furthermore, the Debtors submit that the information contained in the Sale

 Notice, including the exhibit thereto, (a) contains the type of information required under

 Bankruptcy Rule 2002 that is currently known to the Debtors, and (b) is reasonably calculated to

 provide due, adequate and timely notice to all interested parties of (i) potential assumption and

 assignment of executory contracts and unexpired leases and rights thereunder, (ii) the maximum

 amount and manner offered to satisfy the Cure Amounts, (iii) the deadline to file objections to

 such assumption and assignment, applicable Cure Amounts, and the existence of any defaults

 and/or adequate assurance of future performance, and (iv) the Approval Hearing.

        21.     Information Provided to Interested Parties: The Debtors have either provided or

 will provide to all Bidders that have either expressed an interest in purchasing the Pharmacies or

 whom the Debtors believe may have an interest in purchasing the Pharmacies (each an “Interested

 Party” and, collectively the “Interested Parties”), certain information in connection with the

 proposed Sale, including, among other things, the proposed Bid Procedures and the APA. Should

 any Interested Party desire additional or further information, such Interested Party will be required,

 to the extent it has not already done so, to enter into a confidentiality and non-disclosure agreement

 satisfactory to the Debtors in their business judgment. Upon execution of the confidentiality

 agreement, the Interested Parties will be given access to other relevant and confidential

 information.

        22.     Good Faith Deposit: Bidders will be required to submit good faith deposits (the

 “Good Faith Deposits”) with the Debtors on or before January 9, 2020 at 5:00 p.m. CST) (the

 “Bid Deadline”). Such Good Faith Deposit shall be equal to $175,000. Good Faith Deposits of all

 Bidders shall be held in Debtors’ counsel’s IOLTA Trust Account for the Debtors’ benefit until

 the consummation of a transaction involving any other bidder for the Pharmacies. If the Successful

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 Bidder fails to consummate an approved Sale because of a breach or failure to perform on the part

 of such Successful Bidder, the Debtors will not have any obligation to return the Good Faith

 Deposit deposited by such Successful Bidder, and such Good Faith Deposit shall irrevocably

 become the property of the Debtors without affecting or reducing any of the Debtors’ other rights

 or claims against such party. All other deposits will be returned to the respective Bidders within

 fourteen (14) days after closing.

                        OBJECTIONS AND RELATED PROCEDURES

        23.     The Debtors request the following procedures be implemented with respect to the

 notices and relief requested herein:

                a.      Objections, if any, to the Sale Motion and/or the proposed
        assumption and assignment of the Desired 365 Contracts and rights thereunder,
        including but not limited to objections relating to any Cure Amounts, the existence
        of any defaults, and/or adequate assurances of future performance, must (a) be in
        writing, (b) state with specificity the nature of such objection, (c) if concerning a
        Cure Amount, set forth a specific default in the Desired 365 Contract and claim a
        specific monetary amount that differs from the Cure Amount (if any) specified by
        the Debtors in the Sale Notice (with appropriate documentation in support thereof),
        (d) comply with the Federal Rules of Bankruptcy Procedure, and (e) be filed with
        this Court and served upon the following parties in accordance with the Sale Notice
        on or before January 15, 2020 at 12:00 p.m. (CST): (i) counsel for the Debtors at
        Pronske & Kathman, P.C., Attn: Brandon J. Tittle, 2701 Dallas Parkway, Suite 590,
        Plano, Texas 75093, (fax) 214-658-6509, btittle@pronskepc.com, (ii) counsel for
        the DIP Lender, Cardinal Health 110, LLC, Attn: Scott Zuber, Chiesa, Shahinian
        & Giantomasi, PC, One Boland Drive, West Orange, NJ 07052,
        szuber@csqlaw.com, and Mark H. Ralston, Fishman Jackson Ronquillo PLLC,
        13155 Noel Road, Suite 700, Dallas, Texas 75240, mralston@fjrpllc.com, and (iii)
        counsel for the Office of the United States Trustee, Attn: Nancy S. Resnick, 1100
        Commerce Street, Suite 976, Dallas, Texas 75242, nancy.s.resnick@usdoj.gov.

                b.      The Debtors are authorized to amend the Sale Notice by amending
        the Cure Amounts at any time at least five (5) calendar days prior to the Approval
        Hearing by sending a new or amended Sale Notice; provided, however, that
        counterparties to any Desired 365 Contracts whose Cure Amounts are amended
        shall have at least five (5) calendar days from service of the Amended Sale Notice
        to properly object to such amendment to the Cure Amount. The Debtors are
        authorized to amend the Sale Notice by adding or deleting Desired 365 Contract at
        any time prior to the Approval Hearing, and they shall use commercially reasonable
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        efforts to affect the assumption and assignment of any such added Desired 365
        Contract; provided, however, that counterparties to any such added Desired 365
        Contracts shall have at least five (5) calendar days from service of the amended
        Sale Notice to property object to the assumption and assignment of their respective
        Desired 365 Contract and rights thereunder and the applicable Cure Amount.

                c.      Any Person (as defined in section 101 of the Bankruptcy Code)
        failing to timely file an objection to the Sale Motion shall be forever barred from
        objection to the Sale Motion, including the transferring of the Debtors’ rights, title,
        and interest in, to and under substantially all of the Debtors’ Forest Park Pharmacy
        in accordance with the Asset Purchase Agreement or substantially similar definitive
        agreement free and clear of any and all liens, encumbrances, claims and other
        interest except as otherwise set forth in the Asset Purchase Agreement or other
        substantially similar definitive agreement, and will be deemed to consent to the
        Sale.

                d.      Any person failing to file an objection to any Cure Amounts set forth
        in the Sale Notice or the proposed assumption and assignment of the Debtors’
        rights, title and interest in, to and under Desired 365 Contracts shall be forever
        barred from objecting to the Cure Amounts and from asserting a claim for any cure
        or other amounts (or asserting any defaults exist under the Desired 365 Contracts
        as of the date of assumption) against either of the Debtors, their estates, the
        Potential Buyer or any of their respective affiliates (or such other Person that agrees
        to purchase the Forest Park Pharmacy that is approved by the Bankruptcy Court)
        with respect to its Desired 365 Contract arising prior to assumption and assignment
        of the Debtors; right, title and interest in, to and under the Desired 365 Contract and
        will be deemed to consent to the proposed assumption and assignment of the
        Desired 365 Contract and rights thereunder by such Sale.

                 ASSET PURCHASE AGREEMENT AND BREAK-UP FEE

        24.    The Debtors believe that to establish a baseline template and agreement by which

 to consider and judge all bids, the Debtors will work from the terms of the APA, substantially in

 the form attached hereto as Exhibit B.

        25.    Any Bidder who wishes to submit a competing bid must work from the APA

 attached as Exhibit B as a form and provided that the conditions to closing of the mark-up APA

 version must make it not materially more contingent than the APA. The Debtors will not consider

 any bid that is not a mark-up of the Asset Purchase Agreement.


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                               BASIS FOR RELIEF REQUESTED

 A.       The Bid and Auction Procedures Should be Approved.

          26.   The Court should approve the Bid Procedures and Auction because they were

 determined using good business judgment. Bid procedures determined using good business

 judgment should be approved. See In re The Bombay Co., Inc., Case No. 07-44084-dml-11, 2007

 Bankr. LEXIS 3218, at * 12 (Bankr. N.D. Tex. Sept. 26, 2007) (“The principal question the court

 thus faces is whether management of the Debtor in fact exercised good business judgment.”);

 Richmond Leasing Co. v. Capital Bank, N.A., 762 F.2d 1303, 1311 (5th Cir. 1985). Once a valid

 business justification is articulated, a presumption of reasonableness arises in favor of the Debtor.

 See In re Johns-Manville Corp., 60 B.R. 615-616 (Bankr. S.D.N.Y. 1986). Courts often show

 great deference to a debtor’s decision making in the context of applying the “business judgment”

 rule. See Summit Land Co. v. Allen (In re Summit Land Co.), 13 B.R. 310, 315 (Bankr. D. Utah

 1981).

          27.   The Bid Procedures contemplated herein will ensure that the consideration paid for

 the Pharmacies (a) is fair and reasonable, (b) is the highest and best offer, (c) will address the

 Debtors’ secured debts, and return a significant dividend to unsecured creditors, and (d) constitutes

 reasonably equivalent value and fair consideration under the Bankruptcy Code. In light of the

 foregoing, the Sale of the Pharmacies pursuant to the proposed Bid Procedures constitutes a sound

 business decision.

          28.   The Bid Procedures will ensure that the bidding process with respect to the Auction

 is fair and reasonable and will yield the maximum value for the Debtors’ estates and creditors. In

 addition, the Bid Procedures set deadlines for conducting an Auction and holding a hearing with

 respect to the Sale. As such, the Court should approve the Bid Procedures.

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                          WAIVER OF BANKRUPTCY RULE 6004(h)

        29.     In order successfully implement the foregoing, and to move towards the Bid

 Deadline and Auction in the most expeditious way possible, the Debtors seek a waiver of the

 fourteen (14) day stay under Federal Rule of Bankruptcy Procedure 6004(h).

                                              NOTICE

        30.     No trustee has been appointed in these Chapter 11 Cases. Notice of this Motion will

 be provided to: (i) the Office of the United States Trustee; (iii) counsel to the prepetition secured

 lenders; and (iv) each of the parties listed on the attached Master Service List.

        WHEREFORE, the Debtors respectfully request that the Court grant the relief requested

 herein and such other and further relief as the Court may deem just and proper.

   Dated: November 21, 2019.                         Respectfully submitted,

                                                     /s/ Brandon J. Tittle
                                                     Gerrit M. Pronske
                                                     Texas Bar No. 16351640
                                                     Brandon J. Tittle
                                                     Texas Bar No. 24090436
                                                     PRONSKE & KATHMAN, P.C.
                                                     2701 Dallas Parkway, Suite 590
                                                     Plano, Texas 75093
                                                     Telephone: 214.658.6500
                                                     Facsimile: 214.658.6509
                                                     Email: gpronske@pronskepc.com
                                                     Email: btittle@pronskepc.com

                                                     COUNSEL FOR DEBTORS AND
                                                     DEBTORS-IN-POSSESSION




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                                 CERTIFICATE OF SERVICE

         I, the undersigned, hereby certify that, on November 21, 2019, I caused to be served the
 foregoing pleading upon the parties on the Master Service List attached hereto via electronic and/or
 United States mail, first class delivery, and also via ECF email upon all parties accepting such
 service.

                                                      /s/ Brandon J. Tittle
                                                      Brandon J. Tittle




 DEBTORS’ MOTION PURSUANT TO SECTIONS 105(A) AND 363 OF THE BANKRUPTCY CODE FOR (I) APPROVAL OF
 BID PROCEDURES FOR THE SALE OF THE DEBTORS’ PHARMACIES, (II) AUTHORIZATION TO USE THE ASSET
 PURCHASE AGREEMENT IN CONNECTION THEREWITH, AND (III) TO SET RELATED AUCTION AND HEARING DATES
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